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June 26, 2020

Via FEDEX

Clerk’s Office

Room 2609, Second Floor

U.S. District Court for the Eastern District of Pennsylvania
James A. Byrne U.S. Courthouse

601 Market Street

Philadelphia, PA 19106

Attn: Ms. Terry Milano, Operations Manager

RE: Timothy Greco M.D., et al. v. People’s Republic of China, et al., United States
District Court for the Eastern District of Pennsylvania, No. 20-2235

Dear Ms. Milano:

Enclosed are FedEx Envelopes with enclosed documents addressed to each of the
Defendants in the above referenced matter. These document packages are for dispatch
and service by the clerk of court under 28 U.S.C. Section 1608 (a)(3) on the People’s
Republic of China (amended summons and amended complaint, notice of suit and
translation of these documents into Chinese) and under Section 1608 (b)(3)(B) on the
Chinese Communist Party (amended summons and amended complaint, and translation
of these documents into Chinese). .

If you have any questions or need any additional information please contact me.
Thank you very much for your attention to this matter.

Very truly yours,
MANDRACCHIA LAW, LLC

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Jeffrey-W. Soderberg, Esquire ()
